      Case 1:18-cv-00966-CFC-CJB Document 999 Filed 01/05/23 Page 1 of 1 PageID #: 38516
AO 120 (Rev. 08/10)

                             Mail Stop 8                                                       REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                             FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                              ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                   TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
          filed in the U.S. District Court                         District of Delaware                                 on the following
       G Trademarks or        ✔ Patents.
                              G             (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
         18-966-CFC                        6/28/2018                                                District of Delaware
PLAINTIFF                                                                    DEFENDANT
 VLSI Technology LLC                                                            Intel Corporation



        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 US 6,212,633 B1                           4/3/2001                   VLSI Technology LLC

2 US 7,246,027 B2                          7/17/2007                   VLSI Technology LLC

3 US 7,247,552 B2                          7/24/2007                   VLSI Technology LLC

4 US 7,523,331 B2                          4/21/2009                   VLSI Technology LLC

5 US 8,081,026 B1                          12/20/2011                  VLSI Technology LLC


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                   G   Answer          G   Cross Bill    G    Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT

            Case closed per the Stipulation of Dismissal filed by the parties on December 27, 2022.




CLERK                                                        (BY) DEPUTY CLERK                                             DATE
        John A. Cerino                                           /s/N. Fasano                                                     1/5/2023


Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
